                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF MISSOURI

                                       CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                          Matter to be Sealed
                                                                                     ■   Secret Indictment
Greene / Southern
                                                                                         Juvenile
Defendant Information
Defendant Name:           PATRICK R. WATERS

Alias Name:

Birth Date:               00/00/1987
Related Case Information
Superseding Indictment?            Yes    ■   No If yes, original case number:
New Defendant(s)?             ■    Yes        No
Prior Complaint Case Number, if any:       NA

Prior Target Letter Case Number, if any: NA
U.S. Attorney Information
AUSA Byron Black

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
    Currently in Federal Custody                                                   Writ Required?                 Yes     ■   No
    Currently in State Custody                                                                                ■   Yes         No
                                                                                   Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts         6 + FA

     Set                       Index Key & Description of Offense Charged                                    Count(s)

      1        21:846=CD.F CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE                                          1

      2        21:841B=CP.F CONTROLLED SUBSTANCE - POSS. WITH INTENT TO DISTRIB.                                  8

      3        21:860A=CD.F DISTRIBUTE NEAR PERSON UNDER 18/CONTROLLED SUB.                                       9

      4        18:922G.F UNLAWFUL TRANSPORT OF FIREARMS/USER OF DRUGS IN POSS.                                10, 19



                                                   (May be continued on reverse)                             Revised: 04-25-2018
Set                     Index Key & Description of Offense Charged             Count(s)


5     18:924C.F VIOLENT CRIME/DRUGS/possession in furtherance of drug crime.      11


6     21:853.F CRIMINAL FORFEITURES                                            Forf Alleg


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